                  Case 3:14-cv-02346-JCS Document 99 Filed 11/23/15 Page 1 of 6




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12                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
13                                    SAN FRANCISCO DIVISION
14
     DAVID AND NATASHA WIT, et al.,                     Case No. 3:14-CV-02346-JCS
15                                                      Action Filed:    May 21, 2014
                         Plaintiffs,
16                                                     DECLARATION OF CAROLINE E.
             v.                                        REYNOLDS IN SUPPORT OF PLAINTIFFS’
17                                                     MOTION TO COMPEL DEFENDANT
     UNITED BEHAVIORAL HEALTH                          UNITED BEHAVIORAL HEALTH TO
18 (operating as OPTUMHEALTH
                                                       PRODUCE DOCUMENTS IMPROPERLY
     BEHAVIORAL SOLUTIONS),                            WITHHELD OR REDACTED AS
19
                                                       PRIVILEGED
                         Defendant.
20
21 GARY ALEXANDER, et al.,                              Case No. 3:14-CV-05337-JCS
                                                        Action Filed:    December 4, 2014
22                       Plaintiffs,

23           v.                                         Date:            January 8, 2016
                                                        Time:            9:30 A.M.
24 UNITED BEHAVIORAL HEALTH                             Judge:           Hon. Joseph C. Spero
     (operating as OPTUMHEALTH                          Courtroom:       G
25 BEHAVIORAL SOLUTIONS),
26
                         Defendant.
27
28
     REYNOLDS DECL. IN SUPP. OF PLS.’ MOT. TO COMPEL
     CASE NOS. 3:14-CV-02346-JCS; 3:14-CV-05337-JCS
                                                                                                5108174.2
                  Case 3:14-cv-02346-JCS Document 99 Filed 11/23/15 Page 2 of 6




 1 I, CAROLINE E. REYNOLDS, declare and state as follows:
 2           1.       I am over 18 years of age. I am an attorney licensed to practice in the District of

 3 Columbia and have been admitted to practice pro hac vice in this action. I am a partner of the
 4 law firm Zuckerman Spaeder LLP, and counsel of record for Plaintiffs David and Natasha Wit,
 5 Brian Muir, Brandt Pfeifer, Lori Flanzraich, and Cecilia Holdnak in Wit, et al. v. United
 6 Behavioral Health, Case No. 3:14-CV-02346-JCS (the “Wit Case”) and Plaintiffs Gary
 7 Alexander, Corinna Klein, and David Haffner in Alexander, et al. v. United Behavioral Health,
 8 Case No. 3:14-CV-05337-JCS (the “Alexander Case”) (collectively, “Plaintiffs”).                 I am
 9 responsible for the day-to-day management of this action. I have personal knowledge of the facts
10 set forth herein.
11           2.       Attached as Exhibit A hereto is a true and correct copy of Plaintiffs’ First Set of

12 Requests for Production of Documents in the Wit Case, which were served on UBH on
13 December 8, 2014.
14           3.       Attached as Exhibit B hereto is a true and correct copy of Defendant United

15 Behavioral Health’s Responses to Plaintiffs’ First Set of Requests for Production of Documents
16 in the Wit case, which were served on Plaintiffs on January 21, 2015.
17           4.       Attached as Exhibit C hereto is a true and correct copy of an e-mail dated May 29,

18 2015, from Nathaniel Bualat, counsel for UBH, to Andrew Caridas, counsel for plaintiffs,
19 memorializing the parties’ agreed list of search terms. Earlier emails in the string have been
20 omitted.
21           5.       Attached as Exhibit D hereto is a true and correct copy of six letters exchanged by

22 the parties in the process of meeting and conferring about UBH’s privilege assertions. The
23 exhibit contains the following letters:
24                 a. An August, 21, 2015 letter from Andrew Caridas, counsel for Plaintiffs, to Na-

25                    thaniel P. Bualat, counsel for UBH.

26                 b. A September 4, 2015 letter from Katharine F. Barach, counsel for UBH, to An-

27                    drew Caridas, counsel for Plaintiffs.
     REYNOLDS DECL. IN SUPP. OF PLS.’ MOT. TO COMPEL
28   CASE NOS. 3:14-CV-02346-JCS; 3:14-CV-05337-JCS
                                                                                                  5108174.2
                  Case 3:14-cv-02346-JCS Document 99 Filed 11/23/15 Page 3 of 6




 1                 c. An October 14, 2015 letter from Caroline E. Reynolds, counsel for Plaintiffs, to

 2                    Nathaniel P. Bualat, counsel for UBH.

 3                 d. An October 30, 2015 letter from Nathaniel P. Bualat, counsel for UBH, to Caro-

 4                    line E. Reynolds, counsel for Plaintiffs.

 5                 e. A November 6, 2015 letter from Caroline E. Reynolds, counsel for Plaintiffs, to

 6                    Nathaniel P. Bualat, counsel for UBH.

 7                 f. A November 11, 2015 letter from Nathaniel P. Bualat, counsel for UBH, to Caro-

 8                    line E. Reynolds, counsel for Plaintiffs.
 9           6.       Attached as Exhibit E hereto is a true and correct copy of a privilege log UBH

10 served on Plaintiffs on October 2, 2015.
11           7.       Attached as Exhibit F hereto is a true and correct copy of a privilege log UBH

12 served on Plaintiffs on October 30, 2015.
13           8.       Attached, collectively, as Exhibit G hereto are true and correct copies of charts

14 identifying the documents on UBH’s privilege log to which each of Plaintiffs’ arguments applies.
15                 a. Exhibit G.1 identifies which of the documents UBH has redacted on privilege

16                    grounds fall in to each of the nine categories described in Plaintiffs’ Motion to

17                    Compel at pages 5-6. This chart is sorted by category, and then by privilege log

18                    number.

19                 b. Exhibit G.2 also identifies which of the documents UBH has redacted on privilege

20                    grounds fall in to each of the nine categories described in Plaintiffs’ Motion to

21                    Compel at pages 5-6. This chart, however, is sorted only by privilege log number.

22                 c. Exhibit G.3 identifies which documents UBH has withheld, in full, from produc-

23                    tion on the basis of its “individual benefit claim” ground and which documents it

24                    has withheld, in full, on the basis of its “adverse interests” ground. This chart is

25                    sorted by the “Reason Fiduciary Exception Does Not Apply” column.

26                        i. The “Reason Fiduciary Exception Does Not Apply” column asserts that

27                            the purported legal advice or request for legal advice in the documents in

28   REYNOLDS DECL. IN SUPP. OF PLS.’ MOT. TO COMPEL
     CASE NOS. 3:14-CV-02346-JCS; 3:14-CV-05337-JCS      2
                  Case 3:14-cv-02346-JCS Document 99 Filed 11/23/15 Page 4 of 6




 1                             the “individual benefit claim” group concern: (i) “general benefit adjudi-

 2                             cation unrelated to named plaintiffs or benefits sought by named plain-

 3                             tiffs”; or (ii) “specific benefit claims unrelated to the named plaintiffs or

 4                             the benefits sought by named plaintiffs.”

 5                         ii. The “Reason Fiduciary Exception Does Not Apply” column asserts that

 6                             the purported legal advice or request for legal advice in the documents in

 7                             the “adverse interests” group concern: “specific regulatory or litigation

 8                             exposure or matters.” These entries have been shaded gray.
 9                 d.   Exhibit G.4 also identifies which documents UBH has withheld, in full, from

10                      production on the basis of its “individual benefit claim” ground and which docu-

11                      ments it has withheld, in full, on the basis of its “adverse interests” ground. This

12                      chart is sorted by log number. The “Reason Fiduciary Exception Does Not Ap-

13                      ply” entries are shaded gray for the documents as to which UBH has asserted its

14                      “adverse interests” ground.

15           9.         Attached, collectively, as Exhibit H hereto are true and correct copies of certain

16 documents produced by UBH, with redactions, in the above-referenced actions.
17                 a.   Exhibit H.1 contains five examples of documents falling in Category 1 identified

18                      in Plaintiffs’ Motion to Compel at page 5. UBH produced the documents with the

19                      following beginning bates numbers: UBHWIT0058303, UBHWIT0058442, UB-

20                      HWIT0058603, UBHWIT0058628, UBHWIT0064176, UBHWIT0064374.

21                 b. Exhibit H.2 contains two examples of documents falling in Category 2 identified

22                      in Plaintiffs’ Motion to Compel at page 5. UBH produced the documents with the

23                      following beginning bates numbers: UBHWIT0058452, UBHWIT0058458.

24                 c. Exhibit H.3 contains one example of a document falling in Category 3 identified

25                      in Plaintiffs’ Motion to Compel at page 5. UBH produced the document with the

26                      beginning bates number UBHWIT0063959.

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28   REYNOLDS DECL. IN SUPP. OF PLS.’ MOT. TO COMPEL
     CASE NOS. 3:14-CV-02346-JCS; 3:14-CV-05337-JCS       3
               Case 3:14-cv-02346-JCS Document 99 Filed 11/23/15 Page 5 of 6




 1                 d. Exhibit H.4 contains two examples of documents falling in Category 4 identified

 2                    in Plaintiffs’ Motion to Compel at page 5. UBH produced the documents with the

 3                    following beginning bates numbers: UBHWIT0047809, UBHWIT0063926.

 4                 e. Exhibit H.5 contains three examples of documents falling in Category 5 identified

 5                    in Plaintiffs’ Motion to Compel at page 5. UBH produced the documents with the

 6                    following beginning bates numbers: UBHWIT0058368, UBHWIT0058370

 7                    (which is an attachment to UBHWIT0058368), and UBHWIT0063760.

 8                 f. Exhibit H.6 contains one example of a document falling in Category 6 identified
 9                    in Plaintiffs’ Motion to Compel at page 6. UBH produced the document with the

10                    beginning bates number UBHWIT0049510.

11                 g. Exhibit H.7 contains one example of a document falling in Category 7 identified

12                    in Plaintiffs’ Motion to Compel at page 6. UBH produced the document with the

13                    beginning bates number UBHWIT0058449.

14                 h. Exhibit H.8 contains one example of a document falling in Category 8 identified

15                    in Plaintiffs’ Motion to Compel at page 6. UBH produced the document with the

16                    beginning bates number UBHWIT0046455.

17                 i. Exhibit H.9 contains one example of a document falling in Category 9 identified

18                    in Plaintiffs’ Motion to Compel at page 6. UBH produced the document with the

19                    beginning bates number UBHWIT0046452.

20           10.      Attached as Exhibit I hereto is a true and correct copy of a chart of the documents

21 appearing on UBH’s October 30, 2015 privilege log as to which Plaintiffs contend that UBH
22 clearly has not established that the attorney-client privilege applies. This chart is sorted by log
23 number.
24           11.      Attached as Exhibit J hereto is a true and correct copy of the Department of

25 Labor’s Advisory Opinion 96-14A (July 31, 1996). The advisory opinion is available on the
26 internet at the following address: http://www.dol.gov/ebsa/programs/ori/advisory96/96-14a.htm
27 (last visited November 23, 2015).
28   REYNOLDS DECL. IN SUPP. OF PLS.’ MOT. TO COMPEL
     CASE NOS. 3:14-CV-02346-JCS; 3:14-CV-05337-JCS     4
               Case 3:14-cv-02346-JCS Document 99 Filed 11/23/15 Page 6 of 6




 1           I declare under penalty of perjury that the foregoing is true and correct.

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 3 Executed this 23rd day of November, 2015, at Washington, D.C.
 4                                                          /s/ Caroline E. Reynolds
 5                                                          Caroline E. Reynolds

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28   REYNOLDS DECL. IN SUPP. OF PLS.’ MOT. TO COMPEL
     CASE NOS. 3:14-CV-02346-JCS; 3:14-CV-05337-JCS     5
